            Case 1:13-cv-00326-RJL Document 22 Filed 05/28/15 Page 1 of 2



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

_____________________________________
THE UNITED STATES OF AMERICA,           )
ex rel. MICHAEL GREER, et al.,          )
                                        )
                   Plaintiffs/Relators, )
                                        )
        v.                              )          Civil Action No. 13-326-RJL
                                        )
DYNCORP INTERNATIONAL INC., et al., )
                                        )
                   Defendants.          )
_____________________________________)


                                NOTICE OF APPEARANCE

       The Court will please take notice that Rosemary Szanyi, who is admitted to practice in

this Court, hereby enters her appearance in this matter on behalf of Defendants DynCorp

International Inc., DynCorp International LLC, Delta Tucker Holdings, Inc., and Delta Tucker

Sub, Inc.



May 28, 2015                                 Respectfully submitted,


                                             /s/ Rosemary Szanyi
                                             Rosemary Szanyi, D.C. Bar # 997859
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                                             Counsel for Defendants
          Case 1:13-cv-00326-RJL Document 22 Filed 05/28/15 Page 2 of 2



                                CERTIFICATE OF SERVICE

       I, Rosemary Szanyi, hereby certify that on this the 28th day of May 2015, I caused a true

and correct copy of the foregoing to be filed electronically using the Court’s CM/ECF system,

which will send copies to the following counsel of record:


       Joel D. Hesch                                     Brian P. Hudak
       Attorney at Law                                   Assistant United States Attorney
       3540 Ridgecroft Dr.                               555 Fourth Street, NW
       Lynchburg, VA 24503                               Washington, D.C. 20530
                                                         Counsel for the United States of America
       Joseph M. Callow
       Keating Muething & Klekamp PLL
       One East Fourth Street, Suite 1400
       Cincinnati, OH 45202
       Counsel for Relators



I further caused the remaining counsel of record and party to be served by first-class mail at the

following addresses:


       Gregory M. Utter                                  Onsite OHS, Inc.
       Danielle M. D’Addesa                              101 N. Hart Street
       Lori G. Heilman                                   Princeton, Indiana 47670
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                                                               /s/ Rosemary Szanyi
                                                             Rosemary Szanyi

                                                             Counsel for Defendants
